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JS 45 (11/2002)

Criminal Case Cover Sheet                                                                                           U.S. District Court
Place of Offense:                        Under Seal: Yes X_     No            Judge Assigned:         \££
City       Alexandria              _Superseding Indictment                    Criminal Number:              uirrfV^K
County/Parish                      Same Defendant                             New Defendant
                                   Magistrate Judge Case Number                                 Arraignment Date:
                                   Search Warrant Case Number

                                   R 20/R 40 from District of

Defendant Information:

Juvenile-Yes         No X     FBI#
Defendant Name: Damaso Lopez Nunez                    Alias Name(s)
Address:
Employment: _
Birth date 1966           SS#N/A             _Sex MDefRace.                .Nationality _                   Place of Birth
Height              .Weight          Hair.              Eyes_              Scars/Tattoos

   Interpreter:      No X     Yes List language and/or dialect:                     .Automobile Description
Location Status:

Arrest Date
   Already in Federal Custody as of                                   in

   Already in State Custody             On Pretrial Release           X Not in Custody
X Arrest Warrant Requested              Fugitive                           Summons Requested
   Arrest Warrant Pending               Detention Sought                   Bond
Defense Counsel Information:

Name:                                              .Court Appointed               Counsel conflicted out:
Address:                                           .Retained
Telephone:                                          Public Defender               Federal Public Defender's Office conflicted out:
U.S. Attorney Information:

AUSA       Daniel J. Grooms        .Telephone No:      703-299-3700                 Bar it

Complainant Agency. Address & Phone Number or Person & Title:
PEA. SA Paul Moloney
U.S.C. Citations:

           Code/Section             Description of Offense Charged           Count(s)           Capital/Felonv/Misd/Pettv
                                 Conspiracy to distribute five
           21 U.S.C. §§ 959,960, kilograms or more of cocaine for
Setl       963                      importation intothe United States                            Felony
           18 U.S.C. §§ 1956(h), Conspiracy to commit money
Set 2      3238                  laundering                                         I            Felony
           21 U.S.C. §§ 853, 970
Set 3      18 U.S.C. § 982          Forfeiture

                                                      (May be
                                                           re continued on reverse)
                                                                           reverse;



Date:       ///&//}                .Signature of AUSA:
                  Case 1:11-cr-00558-TSE Document 3 Filed 11/23/11 Page 2 of 5 PageID# 20

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JS 45 (11/2002)

Criminal Case Cover Sheet                                                                                         U.S. District Court
Place of Offense:                       Under SeahYes X.       No            Judge Assigned:         T5fc
City     Alexandria              .Superseding Indictment                    .Criminal Number:         f-nccfyft
County/Parish                     Same Defendant                             New Defendant
                                  Magistrate Judge Case Number                                 Arraignment Date:
                                  Search Warrant Case Number

                                  R 20/R 40 from District of

Defendant Information:

Juvenile-Yes         No X     FB1#
Defendant Name: Felipe Zurita Cruz                  Alias Name(s)
Address:
Employment: _
Birth date 1955         SS#N/A           _Sex MDefRace.                   .Nationality _                   Place of Birth
Height              .Weight          Hair.            Eyes_               Scars/Tattoos

   Interpreter:      No X     Yes List language and/or dialect:                     Automobile Description
Location Status:

Arrest Date
   Already in Federal Custody as of                                  in

   Already in State Custody            On Pretrial Release           X Not in Custody
X Arrest Warrant Requested             Fugitive                           Summons Requested
   Arrest Warrant Pending              Detention Sought                   Bond
Defense Counsel Information:

Name:                                             .Court Appointed               Counsel conflicted out:
Address: ^^^^_^^^___                              .Retained
Telephone:                                        Public Defender                Federal Public Defender's Office conflicted out:
U.S. Attorney Information:

AUSA     Daniel J. Grooms         .Telephone No:     703-299-3700                  Bar ft

Complainant Agency. Address & Phone Number or Person & Title:
PEA. SA Paul Moloney
U.S.C. Citations:

         Code/Section              Description of Offense Charged           CounUs)             Canital/Felonv/Misd/Pettv
                               Conspiracy to distribute five
         21 U.S.C. §§ 959,960, kilograms or more of cocaine for
Setl     963                       importation intothe United States                            Felony
         18 U.S.C. §§ 1956(h), Conspiracy to commit money
Set 2    3238                  laundering                                                       Felony
         21 U.S.C. §§ 853, 970
Set 3      18 U.S.C. S 982         Forfeiture

                                                    (May be continued on reverse)


Date:      ///&///                .Signature of AUSA:
                  Case 1:11-cr-00558-TSE Document 3 Filed 11/23/11 Page 3 of 5 PageID# 21

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JS 45 (11/2002)

Criminal Case Cover Sheet                                                                                             U.S. District Court
Place of Offense:                           Under SeahYes X_       No            Judge Assigned:         T=?h
City       Alexandria                .Superseding Indictment                    .Criminal Number:         uwccyfo
County/Parish                        Same Defendant                              New Defendant
                                     Magistrate Judge Case Number                                   Arraignment Date:
                                     Search Warrant Case Number

                                     R 20/R 40 from District of

Defendant Information:

Juvenile-Yes           No X    FBI #
Defendant Name: FNU LNU                                  Alias Name(s) "El Gordo"
Address:
Employment:
Birth dateN/A              SS#N/A              _Sex MDefRace.                 .Nationality _                   Place of Birth

Height              .Weight            Hair.               Eyes_              Scars/Tattoos

   Interpreter:        No X   Yes List language and/or dialect:                            Automobile Description
Location Status:

Arrest Date
   Already in Federal Custody as of                                      in

   Already in State Custody               On Pretrial Release            X    Not in Custody
X Arrest Warrant Requested                Fugitive                            Summons Requested
   Arrest Warrant Pending                 Detention Sought                    Bond
Defense Counsel Information:
Name:                                                 .Court Appointed               Counsel conflicted out:

Address:                                              .Retained
Telephone:                                             Public Defender               Federal Public Defender's Office conflicted out:
U.S. Attorney Information:

AUSA       Daniel J. Grooms           .Telephone No:      703-299-3700                 Bar#

Complainant Agency. Address & Phone Number or Person & Title:
PEA. SA Paul Moloney
U.S.C. Citations:

           Code/Sec tion               1Description   of Offense Charged        Countfs)            Capita I/Felon v/Misd/Pettv
                                       Conspiracy
                                       (      to distribute five
           21 U.S.C.   §§959,960, 1kilograms or more of cocaine for
Setl       963                         importation
                                       i           into the United States              1            Felony
           18U.S.C.    §§ 1956(h),     (Conspiracy to commit money
Set 2      3238                        1laundering                                     1            Felony
           21 U.S.C.   §§ 853, 970
Set 3      18 U.S.C. §982              1Forfeiture

                                                         (May be continued on reverse)


Date:
            ///2-z^/J ,Signature of AUSA:                                                         C^"
                  Case 1:11-cr-00558-TSE Document 3 Filed 11/23/11 Page 4 of 5 PageID# 22
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JS 45 (11/2002)

Criminal Case Cover Sheet                                                                                          U.S. District Court
Place of Offense:                         Under Seal: Yes X_    No            Judge Assigned:         T5E
City       Alexandria              .Superseding Indictment                   .Criminal Number:             l.nr.r.'VFS?,
County/Parish                      Same Defendant                             New Defendant
                                   Magistrate Judge Case Number                                  Arraignment Date:
                                   Search Warrant Case Number

                                   R 20/R 40 from District of

Defendant Information:

Juvenile-Yes         No X     FBIfl
                     Jaime Alberto Lopez
Defendant Name: Gutierrez                             Alias Name(s)
Address:

Employment:
Birth dateN/A             SS#N/A              .Sex MDef Race.              .Nationality _                   Place of Birth

Height              .Weight           Hair.             Eyes_              Scars/Tattoos
   Interpreter:      No X     Yes List language and/or dialect:                         Automobile Description
Location Status:

Arrest Date
   Already in Federal Custody as of                                   in


   Already in State Custody             On Pretrial Release           X    Not in Custody
X Arrest Warrant Requested              Fugitive                           Summons Requested
   Arrest Warrant Pending               Detention Sought                   Bond
Defense Counsel Information:

Name:                                              .Court Appointed               Counsel conflicted out:

Address:                                           .Retained
Telephone:                                          Public Defender               Federal Public Defender's Office conflicted out:
U.S. Attorney Information:

AUSA       Daniel J. Grooms         .Telephone No:     703-299-3700                 Bar#

Complainant Agency. Address & Phone Number or Person & Title:
PEA. SA Paul Moloney
U.S.C. Citations:

           Code/Section              Description of Offense Charged          Count(s)            Capital/Felonv/Misd/Pettv
                                 Conspiracy to distribute five
           21 U.S.C. §§ 959,960, kilograms or more of cocaine for
Set 1      963                       importation intothe United States              1             Felony
           18 U.S.C. §§ 1956(h), Conspiracy to commit money
Set2       3238                      laundering                                     1             Felony
           21 U.S.C. §§ 853, 970
Set 3      18 U.S.C. §982            Forfeiture
                                                      (May be continued on reverse)


Date:       y/^zW/                  .Signature of AUSA:
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                  Case 1:11-cr-00558-TSE Document 3 Filed 11/23/11 Page 5 of 5 PageID# 23
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JS 45 (11/2002)

Criminal Case Cover Sheet                                                                                            U.S. District Court
Place of Offense:                         Under Seal: Yes X.    No            Judge Assigned:              j^>C
City       Alexandria              .Superseding Indictment                    Criminal Number:              | : )I CX S>5^s
County/Parish                      Same Pefendant                             New Pefendant
                                   Magistrate Judge Case Number                                  Arraignment Date:
                                   Search Warrant Case Number
                                   R 20/R 40 from Pistrict of

Defendant Information:

Juvenile—Yes         No X     FBI#

Defendant Name: Raul Rosales Saenz                    Alias Name(s)
Address:
Employment:
Birth dateN/A             SS#N/A             .Sex MDefRace                 .Nationality _                    Place of Birth
Height              .Weight          Hair.              Eyes_              Scars/Tattoos

   Interpreter:      No X     Yes List language and/or dialect:                      .Automobile Description
Location Status:

Arrest Pate
   Already in Federal Custody asof                                    in

   Already in State Custody             On Pretrial Release           X    Not in Custody
X Arrest Warrant Requested              Fugitive                           Summons Requested
   Arrest Warrant Pending               Petention Sought                    Bond
Defense Counsel Information:

Name:                                              .Court Appointed                Counsel conflicted out:

Address:                                           .Retained
Telephone:                                          Public Pefender                Federal Public Pefender's Office conflicted out:
U.S. Attorney Information:

AUSA       Daniel J. Grooms         .Telephone No:     703-299-3700                  Bar#

Complainant Agency. Address & Phone Number or Person & Title:
PEA. SA Paul Moloney
U.S.C. Citations:

           Code/Section              Description of Offense Charged          Count(s)            Canital/Felonv/Misd/Pettv
                                 Conspiracy to distribute five
           21 U.S.C. §§ 959,960, kilograms or more of cocaine for
Setl       963                       importation into the United States                           Felony
           18 U.S.C. §§ 1956(h),    Conspiracy to commit money
Set 2      3238                      laundering                                                   Felony
           21 U.S.C. §§ 853, 970
Set 3      18 U.S.C. §982           Forfeiture

                                                      (May be continued on reverse)


Date:         / f fa2-//I           Signature ofAUSA:
